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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                   PADUCAH DIVISION
                                CASE NO. 5:18‐CV‐173‐TBR

CONNIE BUSHNELL                                                                        PLAINTIFF

V.                                           ORDER

MAXFUEL XPRESS                                                                      DEFENDANT

       A telephonic conference was held on November 26, 2019.
       Appearing for the call:
       No appearance for the plaintiff
       Harlan E. Judd, III for the defendant
       IT IS ORDERED.
        1) By order dated October 21, 2019, the Plaintiff, Connie Bushnell, was given 30 days
to attempt to find new counsel. The Court mailed the Plaintiff, Connie Bushnell, and her
daughter, Jennifer Lindsey a copy of the orders with this information, to each of their
addresses they previously gave the court. The order also set a call for today, November 26,
2019.
        2) Plaintiff Connie Bushnell did not appear for the telephonic call on November 26,
2019, nor did plaintiff’s daughter, Jennifer Lindsey, who is not a party to the case, but has been
on previous calls.
        3) A telephonic status conference is set JANUARY 17, 2020 at 11:00 a.m. CDT.
Counsel and plaintiff and/or counsel must call 1‐877‐848‐7030 then give the Access Code
2523122 and #, then when prompted press # again to join the call.
        4) The Clerk of Court shall mail a copy of today’s order to plaintiff, Connie Bushnell, and
to plaintiff’s daughter, Jennifer Lindsey, at the below address. A copy of the order shall also
be emailed to justine3598@gmail.com.
        5) FAILURE TO APPEAR ON THE JANUARY 17, 2020 TELEPHONIC CONFERENCE
MAY RESULT IN A DISMISSAL OF THE CASE.
        IT IS SO ORDERED.
cc:     Counsel
Mailed to:
Connie Bushnell
407 Tanglewood Court
Cornersville TN 37047

Jennifer Lindsey
720 Verona Avenue
Lewisburg TN 37091
                                                             November 27, 2019
931-447-1891

emailed to: justine3598@gmail.com
      p/05
